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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

  LORETTA BAYLISS,

                          Plaintiff,

  v.                                                     Case No. 0:19-cv-61259-RNS

  NORTH BROWARD HOSPITAL DISTRICT
  d/b/a BROWARD HOSPITAL,

                          Defendant.

          JOINT MOTION FOR 90 DAY EXTENSION OF DISCOVERY AND ALL
              SUBSEQUENT PRETRIAL DEADLINES, INCLUDING TRIAL

         COME NOW Defendant NORTH BROWARD HOSPITAL DISTRICT d/b/a BROWARD

 HOSPITAL, and Plaintiff LORETTA BAYLISS by and through their respective undersigned

 counsel, hereby request a ninety-day extension of all deadlines set forth by the Order Setting Civil

 Trial Date, Pretrial Deadlines and Referral to Magistrate Judge (D.E. 15), and in support thereof

 state the following:

         1.       On November 25, 2019, this Court granted Defendant’s Motion to Dismiss

 Plaintiff’s Complaint for failure to state a claim upon which relief may be granted.

         2.       The Court’s dismissal was without prejudice. Accordingly, Plaintiff filed her

 Amended Complaint on December 9, 2019. Defendant subsequently moved to dismiss Plaintiff’s

 Amended Complaint on December 23, 2019. Defendant’s Motion remains pending to date.

         3.       The discovery deadline in the matter currently expires on January 31, 2020.

 Dispositive Motions are due by February 28, 2020.

         4.       Due to the uncertainty surrounding the viability of Plaintiff’s claims and in order to

 avoid the potential unnecessary expenditure of time and resources on further litigation while

 Defendant’s Motion remains pending, the Parties jointly request this Court for a ninety-day


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 extension of all litigation deadlines in order to permit the Court time to consider Defendant’s

 pending Motion.

         5.       The Parties have also begun negotiations on a possible resolution of this matter and

 the additional time will permit the Parties to continue these discussions.

         6.       The requested enlargement is made in good faith and will not prejudice any party

 to this action and will serve the interest of judicial economy. To the contrary, the requested

 extension will permit the Parties to, if necessary, proceed with discovery and litigation of this

 matter with more clarity on the claims at issue in the case.

         7.       The parties have conferred regarding the contents of this Motion and agree on the

 relief requested relief. Accordingly, the Parties file this motion jointly.

         WHEREFORE, the Parties respectfully request that this Court enter an Order enlarging the

 time for discovery by ninety (90) days and correspondingly enlarging all other deadlines, including

 the trial period.

                                    MEMORANDUM OF LAW

         The Court has the discretion to reschedule the trial and pretrial deadlines in this matter.

 See Fed. R. Civ. P. 16(b)(4) (providing a schedule may be modified only for good cause and with

 the Judge’s consent). The Parties submit that, as set forth above, good cause exists to extend the

 deadlines set forth in the Court’s Order Setting Civil Trial Date, Pretrial Deadlines and Referral to

 Magistrate Judge. The Parties submit the additional time is necessary given the uncertainty of the

 status of Plaintiff’s claims in this litigation and the associated potential for unnecessary discovery

 on matters that may not be issues in the case following the Court’s resolution of Defendant’s

 Motion. The Parties assert that neither side will be prejudice by the requested extension.




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         Based on the foregoing, the Parties jointly and respectfully request a ninety (90) day

 enlargement of the discovery deadline and a corresponding enlargement of the subsequent

 deadlines, including the Parties’ currently scheduled trial period in June 22, 2020.

 Dated this 23rd day of December 2019.                 Respectfully submitted,
 s/ Louis P. Pfeffer                                   s/ Matthew D. Stefany
 LOUIS P. PFEFFER                                      SUSAN POTTER NORTON
 Florida Bar No. 438707                                Florida Bar No. 201847
 LOUIS P. PFEFFER, P.A.                                ALLEN, NORTON & BLUE, P.A.
 250 South Central Boulevard, Suite 205                121 Majorca Avenue, Suite 300
 Jupiter, Florida 33458                                Coral Gables, Florida 33134
 (561) 745-8011 – Telephone                            (305) 445-7801 | (305) 442-1578 – Fax
 (561) 745-8019 – Facsimile                            E-mail: snorton@anblaw.com
 lpfeffer@pfefferlaw.com
 Counsel for Plaintiff                                MATTHEW D. STEFANY
                                                      Florida Bar No. 98790
                                                      ALLEN NORTON & BLUE, P.A.
                                                      Hyde Park Plaza - Suite 225
                                                      324 South Hyde Park Avenue
                                                      Tampa, Florida 33606-4127
                                                      (813) 251-1210 | (813) 253-2006 – Fax
                                                      E-mail:     mstefany@anblaw.com
                                                      Counsel for Defendant

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 23rd day of December 2019, I electronically filed the

 foregoing the Clerk of Court by using the CM/ECF system, which will send a notice of electronic

 filing to, 250 South Central Blvd., Suite 205, Jupiter, Florida 33458.

                                                       s/ Matthew D. Stefany
                                                       ATTORNEY




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